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       MONICA R. MOLINA, ESQ. (SBN 217385)
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  2    Westlake Village, California
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       E-mail: MRMolina@sbcglobal.net
  4
  5    Attorneys for Defendant, ESPERANZA MOLINA
  6
  7
  8                        UNITED STATES DISTRICT COURT,
  9                                CENTRAL CALIFORNIA
 10
       Chris Langer,                               Case No. 20:20-cv-04988-JFW-AS
 11
                           Plaintiff,              NOTICE OF MOTION; MOTION
 12                                                TO DISMISS PURSUANT TO FED.
                                                   R. CIV. P. 12(b)(1) AND 12(b)(6)
 13          v.                                    AND REQUEST FOR SANCTIONS
                                                   AGAINST PLAINTIFF AND
 14    Esperanza Molina, in individual and         PLAINTIFF’S ATTORNEY,
       representative capacity as trustee of the   POTTER HANDY, LLP
 15    Esperanza Molina Revocable Trust-
       1995 executed September 16, 1995;           Date: November 30, 2020
 16    Urbano Fernandez; Araceli Zuniga            Time: 1:30 p.m.
       Hernandez; and Does 1-10,                   Place: Courtroom of the
 17                                                       Hon. John F. Walter
 18                        Defendants.
 19
 20
 21
            PLEASE TAKE NOTICE that on November 30, 2020, or as soon thereafter
 22
      as the matter may be heard, in Courtroom 7A, before the Hon. John F. Walter,
 23
      located at the United States Courthouse, located at 350 W. 1st Street, Los Angeles,
 24
      CA 90012, 8th Floor, at 1:30 p.m., named Defendant ESPERANZA MOLINA shall
 25
      and hereby does respectfully move this Court to dismiss pursuant to Fed. R. Civ. P.
 26
      12(b)(1) and 12(b)(6). ESPERANZA MOLINA’S motion is based upon this Notice
 27
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      of Motion, the following Memorandum of Points and Authorities in support

  2
      thereof, Declaration of Monica R. Molina, and such additional matters as may be

  3
      judicially noticed or properly come before this Court prior to or at the hearing on

  4   this matter.

  5   Dated: October 26, 2020                LAW OFFICES OF MONICA R. MOLINA
  6
                                             By: /s/_______________________________
  7                                                 Attorneys for Defendant,
                                                    ESPERANZA MOLINA
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                                               -2–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
              MEMORANDUM OF POINTS AND AUTHORITIES

  2
      IN SUPPORT OF MOTION TO DISMISS PURSUANT

  3
      FRCP 12(b)(1) AND 12(b)(6)

  4
  5           I. INTRODUCTION

  6           This Motion is being made on behalf of Esperanza Molina (hereinafter

  7   "Defendant"). On June 5, 2020, plaintiff, Chris Langer (hereinafter "Plaintiff"),

  8   filed this action against Defendants, in relation to a store located at 1382 W. Sunset

  9   Boulevard, Los Angeles, California, asserting claims for “Damages And Injunctive

 10   Relief For Violations Of: American’s With Disabilities Act; Unruh Civil Rights

 11   Act.”

 12           Compliance with Local Rule 7-3: The parties met and conferred regarding

 13   issues salient to a motion to Dismiss under Rule 12(b)(1) and 12(b)(6) and came

 14   into an agreement wherein Plaintiff’s counsel agreed to amend the Complaint. Not

 15   only did Plaintiff’s counsel not amend the Complaint but Plaintiff’s counsel

 16   wrongfully requested and had entered a default against Defendant. The default has

 17   since been set aside only due to Defendant’s insistence and preparation of a

 18   stipulation to set aside default (Plaintiff refused to prepare the stipulation after

 19   having caused to the wrongful entry and after many requests for Plaintiff’s Counsel

 20   to withdraw the default request prior to its entry).
 21           Moreover, upon the setting aside of the default against Defendant,
 22   Defendant’s Counsel attempted to prepare the Joint Statement delineating the issues
 23   as set forth in the meet and confer meeting. The proposed Joint Statement was sent
 24   to four (4) different attorneys and/or staff for Plaintiff on October 5, 2020, and NO
 25   RESPONSE has been provided. Counsel for Plaintiff have blatantly failed to
 26   comply with Local Rule 7-3, the Standing Order requirements of this Court, and
 27   haD, in bad faith, requested an entry of default against Defendant after
                                                 -3–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      Defendant’s meet and confer and during the time in which there was a promise to

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      amend the Complaint. To now aggravate the matter, Plaintiff’s Counsel has now

  3
      again filed yet another request for entry of default—all in a wrongful attempt to

  4   gain an advantage in spite of the factual circumstance. Such behavior should be

  5   sanctioned severely to deter further noncompliance and bad faith.

  6           II. BACKGROUND

  7           This Motion is being made on behalf of Defendant. On June 5, 2020, plaintiff

  8   filed this action against Defendant, in relation to a store located at 1382 W. Sunset

  9   Boulevard, Los Angeles, California, asserting claims for “Damages And Injunctive

 10   Relief For Violations Of: American’s With Disabilities Act; Unruh Civil Rights

 11   Act.”

 12           Compliance with Local Rule 7-3: The parties did, in fact, meet and confer

 13   regarding issues salient to a motion to dismiss under Rule 12(b)(1) and 12(b)(6).

 14   Defendant’s Counsel has made every effort to meet and confer with Plaintiff’s

 15   Counsel ultimately to no avail. Instead, Plaintiff’s Counsel has wrongfully

 16   requested entry of default of Defendant twice and have continuously violated the

 17   both federal and local rules of civil procedure.

 18           Relief Sought: The Court should dismiss the Complaint for its failure to

 19   allege Article III Standing. If Plaintiff is granted leave to amend, the Court should

 20   decline to exercise Supplemental Jurisdiction over the remaining State causes of
 21   action on grounds Plaintiff is doing an "end-around" State law.
 22           Relief Sought: The Court should dismiss the Complaint for its failure to
 23   allege Article III Standing. If Plaintiff is granted leave to amend, the Court should
 24   decline to exercise Supplemental Jurisdiction over the remaining State causes of
 25   action on grounds Plaintiff is doing an "end-around" State law.
 26             III. STATEMENT OF FACTS AND PROCEDURAL HISTORY
 27           Plaintiff filed a lawsuit against Defendant on June 5, 2020: According to the
                                                -4–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      Proof of Service on file with this Court, Defendant was served on June 15, 2020:

  2
      Defendant sent the complaint to her counsel, Monica R. Molina, and counsel for

  3
      Defendant requested a 30-day extension from Amanda Seabock, the attorney from

  4   Potter & Handy who was assigned Plaintiff’s case. (Letter from Monica R. Molina

  5   to Amanda Seabock; Decl. Molina ¶3-¶5; Docket Entry 40/3-5). The stipulation to

  6   extend time for a responsive pleading was executed and filed on July 9, 2020.

  7   (Stipulation to Extend Time to File Responsive Pleading; Decl. Molina ¶6; Docket

  8   Entry 12; Docket Entry 40-6, at pg. 1-2).

  9          Defendant’s counsel decided that the appropriate responsive pleading was a

 10   motion to dismiss pursuant FRCP 12(1) and 12(6). (Decl. Molina ¶7). As such,

 11   Defendant’s counsel reached out to Amanda Seabock, Plaintiff’s counsel, to request

 12   a meet and confer per the Local 7-3 requirement prior to filing the motion. (Letter

 13   from Monica R. Molina to Amanda Seabock; Decl. Molina ¶7; Docket Entry 40-7,

 14   at pg. 2).

 15          In response to Defendant counsel’s request for a meet and confer, Plaintiff’s

 16   counsel responded with an agreement to meet and confer on Friday, July 31, 2020.

 17   (Responsive email from Potter Handy to Monica R. Molina; Decl. Molina ¶8,

 18   Docket Entry 40-8, at pg. 1). Following confirmation of the meeting (Responsive

 19   email from Monica R. Molina to Potter Handy; Decl. Molina ¶8, Docket Entry 40-

 20   9, at pg. 1), Defendant’s counsel contacted Raymond Ballister telephonically on
 21   July 31, 2020, and met and conferred with him regarding Defendant’s motion to
 22   dismiss for about thirty (30) minutes. (Email from Monica R. Molina to Raymond
 23   Ballister; Decl. Molina ¶9, Docket Entry 40-10, at pg. 1). Raymond Ballister not
 24   only agreed to amend the Complaint in this action but he agreed to file the amended
 25   complaint by the following week, on or about August 5, 2020. (Email from
 26   Raymond Ballister to Monica R. Molina; Decl. Molina ¶10; Docket Entry 40/10-
 27   11). The amended complaint was never filed, and instead, the attorneys for Plaintiff
                                               -5–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      wrongfully requested an entry of default against Defendant on Monday, August 10,

  2
      2020. (Request to Enter Default Against Defendant Esperanza Molina; Decl.

  3
      Molina ¶11; Docket Entry 25; Docket Entry 40-12, at pg. 1-5).

  4         Upon receiving electronic notice of the request for entry of default,

  5   Defendant’s counsel immediately contacted Plaintiff’s counsel, Amanda Seabock,

  6   and requested that she immediately withdraw the wrongful request for entry of

  7   default against Defendant. (Email from Monica R. Molina to Amanda Seabock;

  8   Decl. Molina ¶12, Docket Entry 40-13, at pg. 1). Amanda Seabock responded that

  9   “[she] will look into this immediately and respond substantively asap.” (Email from

 10   Amanda Seabock to Monica R. Molina; Decl. Molina ¶12, Docket Entry 40-14, at

 11   pg. 1). The Court entered default against Defendant on August 11, 2020 (Entry of

 12   Default Against Defendant Esperanza Molina; Decl. Molina ¶13; Docket Entry 26;

 13   Docket Entry 40-15, at pg. 1), during the time of no response from Amanda

 14   Seabock and no amended complaint filed by Plaintiff.

 15         To add insult to injury, and after more than a week after the default was

 16   entered against Defendant and no action by Plaintiff’s counsel to voluntarily set

 17   aside the wrongfully entered default had taken place, Ms. Seabock finally

 18   responded. The substance of her communication was troubling. First, Ms. Seabock

 19   indicated that Plaintiff’s counsel changed its mind regarding an agreement to amend

 20   the complaint. (Email from Amanda Seabock to Monica R. Molina; Decl. Molina
 21   ¶14, Docket Entry 40-16, at pg. 1). That simply is unacceptable and against all the
 22   principles of contract law. Second, Amanda Seabock agreed to set aside the default
 23   by stipulation. (Email from Amanda Seabock to Monica R. Molina; Decl. Molina
 24   ¶14, Docket Entry 40-16, at pg. 1). Ms. Seabock did not indicate when the
 25   stipulation to set aside default would be prepared.
 26         In response to Ms. Seabock’s continued game-playing and affirmative
 27   conduct to secure an unfair advantage, Defendant’s counsel attempted one last time
                                               -6–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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      to resolve the matter short of having to move the Court for relief. On August 26,

  2
      2020, Defendant’s counsel emailed Ms. Seabock (and copied two other Plaintiff

  3
      attorneys working on the same matter requesting that she prepare the stipulation to

  4   set aside the default and return it for signature by the end of the following day.

  5   (Email from Monica R. Molina to Amanda Seabock; Decl. Molina ¶15, Docket

  6   Entry 40-17, at pg. 1).

  7         Not having had any response from Plaintiff’s Counsel, Defendant’s Counsel

  8   filed a Motion to Set Aside Default which was stricken by this Court for failure to

  9   comply with Local Rule 7-3 and its requirement of meet and confer prior to the

 10   motion.

 11         After setting up a meet and confer with Amanda Seabock for the purpose of

 12   avoiding another motion to set aside entry of default, Plaintiff’s attorney failed to

 13   appear at the scheduled meet and confer. (Email from Monica R. Molina to

 14   Amanda Seabock; Decl. Molina ¶16, Docket Entry 40-18). After several

 15   communications, thereafter, Defendant’s counsel agreed (in order to avoid further

 16   prejudice to Defendant) to draft the stipulation to set aside the entry of default as

 17   against Defendant, and reserved the right to pursue sanctions against Plaintiff and

 18   Plaintiff’s attorneys for their bad faith conduct. (Email from Monica R. Molina to

 19   Amanda Seabock; Decl. Molina ¶17, Docket Entry 40-19).

 20         Defendant’s counsel prepared the stipulation to set aside default, obtained
 21   plaintiff attorney’s signature and filed the stipulation/order with this Court. (Email
 22   from Monica R. Molina to Amanda Seabock; Decl. Molina ¶17, Docket Entry 40-
 23   20). This Court approved the stipulation and ordered the default set aside and that a
 24   responsive pleading be filed within ten (10) days of the entry of the order. (Decl.
 25   Molina ¶18, Docket Entry 35).
 26         Before the ten (10) days elapsed, plaintiff’s counsel once again threatened to
 27   enter default against Defendant if Defendant did not file an “Answer” immediately.
                                                -7–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      (Email from Monica R. Molina to Amanda Seabock; Decl. Molina ¶19, Docket

  2
      Entry 40-21, at pg. 1). In response, Defendant’s counsel explained to Amanda

  3
      Seabock that such request would be wrongful once again. (Email from Monica R.

  4   Molina to Amanda Seabock; Decl. Molina ¶20, Docket Entry 40-22, at pg. 1).

  5         Given that Defendant intended to file a responsive pleading in the form of a

  6   motion to dismiss, Defendant’s counsel asked plaintiff’s counsel to provide

  7   instructions as to who to serve with a proposed Joint Statement pursuant the Court’s

  8   Standing Order. (Email from Monica R. Molina to Amanda Seabock; Decl. Molina

  9   ¶21, Docket Entry 40-23, at pg. 1). Amanda Seabock responded by indicating who

 10   should be served with the proposed Joint Statement for review. (Email from

 11   Monica R. Molina to Amanda Seabock; Decl. Molina ¶21, Docket Entry 40-24, at

 12   pg. 1).

 13         Pursuant Ms. Seabock’s instructions, Defendant’s counsel sent a proposed

 14   Joint Statement to plaintiff’s counsel to the designated email addresses. (Email

 15   from Monica R. Molina to Amanda Seabock; Decl. Molina ¶22, Docket Entry 40-

 16   25, at pg. 1). No response has been provided to date. (Decl. Molina ¶22).

 17         In the interim, on October 26, 2020, a completely new attorney in plaintiff

 18   counsel’s office has now wrongfully requested yet another entry of default of

 19   Defendant. (Decl. Molina ¶23, Docket Entry 39). Please note that the Declaration of

 20   Faythe Gutierrez in support of the most recent request for entry of default
 21   completely misrepresents the facts in this case as well as omits the very pertinent
 22   details of how plaintiff’s counsel continues engaging in sanctionable behavior.
 23   (Decl. Molina ¶23, Docket Entry 39-1).
 24         These tactics by plaintiff’s attorneys are simply improper attempts at gaining
 25   an unfair advantage, and as such, hefty sanctions should be awarded to Defendant
 26   against plaintiff and plaintiff’s counsel, Potter Handy, for not only unnecessarily
 27   forcing Defendant to file motions and aggravate attorney fees and costs, but more
                                               -8–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
      PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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  1
      importantly, to deter plaintiff’s counsel from any further bad faith.

  2
            Defendant requests that the Court order dismissal of this case pursuant FRCP

  3
      12(b)(1) and 12(b)(6) and order hefty sanctions against plaintiff and plaintiff’s

  4   attorney for their bad faith.

  5                                      III. ARGUMENT

  6   i. The Complaint is Jurisdictionally Defective

  7         The Complaint is jurisdictionally defective and subject to dismissal under

  8   Federal Rule of Civil Procedure 12(b)(1), "[f]ederal courts are required sua sponte

  9   to examine jurisdictional issues such as standing." Bernhardt v. County of Los

 10   Angeles, 279 F.3d 862, 868 (9th Cir. 2002); United States v. Hays, 515 U.S. 737,

 11   742, (1995). The existence of Article III standing is not subject to waiver. Id., 742.

 12   It must be demonstrated "at the successive stages of the litigation," Lujan v.

 13   Defenders of Wildlife, 504 U.S. 555, 561, and "[i]f the court determines at any time

 14   that it lacks subject-matter jurisdiction, the court must dismiss the action," Fed. R.

 15   Civ. P. 12(h)(3). "[E]very federal appellate court has a special obligation to 'satisfy

 16   itself not only of its own jurisdiction, but also that of the lower courts in a cause

 17   under review.'" Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541. Plaintiff

 18   Must Allege Facts Demonstrating the Existence of an Injury In-Fact, Even at the

 19   Pleading Stage.“ To establish injury in fact, a plaintiff must show that he or she

 20   suffered ‘an invasion of a legally protected interest’ that is ‘concrete and
 21   particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Lujan,
 22   560. To that end, “[a] ‘concrete’ injury must be ‘de facto’; that is, it must actually
 23   exist.” “Where, as here, a case is at the pleading stage, the plaintiff must ‘clearly . .
 24   . allege facts demonstrating” the existence of an injury in fact. Warth v. Seldin, 422
 25   U.S. 490, 518 (1975).
 26         Here, the complaint fails to state: 1) The date or dates on each particular
 27   occasion on which the plaintiff encountered the specific barrier; 2) Allege the way
                                                 -9–
 28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
      AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
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   1
       in which the barrier(s) are related to his disability; 3) Allege the way in which the

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       barrier(s) denied plaintiff full and equal use or access; 4) Allege how it deterred

   3
       plaintiff, on each particular occasion; and 5) Explain whether plaintiff was on his

   4   own or with an assistant.

   5         Next, a plaintiff must aver that he suffered an injury in fact that is concrete,

   6   particularized, actual, and imminent to have constitutional standing to bring suit

   7   under the ADA, that he would return if the ADA violations were remedied. The

   8   intent to return must be sincere. Doran v. 7-Eleven, Inc., 524 F.3d 1034, 1041.

   9   (Evidence of past patronage of the business, location within a reasonable

  10   distance from Plaintiff's residence and along a familiar bus route, plus a sincere

  11   intent to return is sincere could demonstrate an "actual or imminent" injury.) Parr v.

  12   L & L Drive-Inn Restaurant, 96 F. Supp. 2d 1065, 1079. D'Lil v. Best W. Encina

  13   Lodge & Suites, 538 F.3d 1031 is instructive. The plaintiff in D'Lil, a paraplegic,

  14   traveled to Santa Barbara on a work trip. Id. at 1034. After encountering access

  15   barriers during her stay at the Best Western Encina, she brought suit against the

  16   hotel. She "gave detailed reasons as to why she would prefer to stay at the Best

  17   Western Encina during her regular visits to Santa Barbara." Id. at 1039. Id. Her

  18   intent to return to the Santa Barbara area was evidenced by the regularity with

  19   which she visited the city before, during, and after her stay at the Best Western

  20   Encina. By her declaration, and her testimony at the evidentiary hearing, D'Lil
  21   demonstrated that she has been visiting the Santa Barbara area since the early 1980s
  22   for both business and pleasure. From 1993 to 2000, she had visited approximately
  23   1-3 times per year.
  24         Here, the Complaint is silent as to: 1) Plaintiff's current residence;
  25   2) Distance from his residence to the subject premise; 3) Previous visit(s) to the
  26   subject premise; 4) Connection to the geographic area; and 5) A sincere (credible
  27   and plausible) plan to return. Plaintiff has averred none of these elements.
                                                - 10 –
  28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
       AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
       PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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   1
             Plaintiff has failed to plead required facts to establish standing under Article

   2
       III. Had Plaintiff filed in State Court, he would need to aver: 1) an explanation of

   3
       the specific access barrier or barriers encountered; 2) the way in which the barrier

   4   denied the individual full and equal access, or in which it deterred the individual on

   5   each particular occasion; and 3) the date/s when the claimant encountered the

   6   specific barriers. Because plaintiff lacks standing at the outset of this litigation to

   7   assert the ADA claims, the Court should dismiss them.

   8   ii. The Court Should Decline to Exercise Supplemental Jurisdiction Over the

   9   UNRUH Civil Rights Act Cause of Action

  10         To protect business owners from predatory litigation by high frequency

  11   plaintiffs California has enacted legislation to make attorneys representing these

  12   plaintiffs accountable for baseless claims. Cal. CCP Section 425.50 (c) states in

  13   relevant part: “A complaint alleging a construction-related accessibility claim shall

  14   be signed by at least one attorney of record in the attorney’s individual name, or, if

  15   the party is not represented by an attorney, shall be signed by the party. By signing

  16   the complaint, the attorney or unrepresented party is certifying that, to the best of

  17   the person’s knowledge, information, and belief, formed after an inquiry reasonable

  18   under the circumstances, all of the following conditions are met: 1) It is not being

  19   presented primarily for an improper purpose, such as to harass or to cause

  20   unnecessary delay or needless increase in the cost of litigation, and 2) The claims,
  21   defenses, and other legal contentions therein are warranted by existing law or by a
  22   nonfrivolous argument for the extension, modification, or reversal of existing law
  23   or the establishment of new law.”
  24         With the absence of these state Court constraints, the attorneys at the Potter
  25   Handy firm tend to be creative with the facts when serving their frequent filer
  26   clients. Here are a few examples from cases prosecuted by this attorney: Langer v.
  27
                                                 - 11 –
  28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
       AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
       PLAINTIFF’S ATTORNEY, POTTER HANDY, LLP
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   1
       Colorado Professional Building, LLC et al, Case Number: 2:18- cv-02267-SJO-

   2
       FFM, UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF

   3
       CALIFORNIA (Western Division Los Angeles), the Honorable S. JAMES

   4   OTERO; Ghadiri v. Carpet & Linoleum City, et al., Case Number: 8:18-cv -

   5   01869AG(ADSx), UNITED STATES DISTRICT COURT CENTRAL DISTRICT

   6   OF CALIFORNIA, the Honorable ANDREW J. GUILFORD; Love v. Carnwright

   7   et al, Case Number: 5:18-cv-00190RSWL-SP, UNITED STATES DISTRICT

   8   COURT CENTRAL DISTRICT OF CALIFORNIA (Eastern Division - Riverside),

   9   the Honorable RONALD S. W. LEW; Whitaker v. Kashani et al, Case Number:

  10   2:18-cv-00346JFW-PLA, UNITED STATES DISTRICT COURT CENTRAL

  11   DISTRICT OF CALIFORNIA (Western Division - Los Angeles), the Honorable

  12   JOHN F. WALTER.

  13         The Court may sua sponte decline to exercise supplemental jurisdiction over

  14   Plaintiff’s Unruh claim, as it would serve the interests of judicial economy, fairness

  15   to litigants, and comity. United Mine Workers, 383 U.S. at 726. The Unruh Act

  16   does not arise under federal law. Pursuant to 28 U.S.C. § 1331, federal courts have

  17   original jurisdiction over claims arising under laws of the United States. "A state-

  18   law claim invokes 28 U.S. C. § 1331 jurisdiction only if it 'necessarily raises a

  19   stated federal issue, actually disputed and substantial, which a federal forum may

  20   entertain without disturbing any congressionally approved balance of federal and
  21   state judicial responsibilities.'" Shanks v. Dressel, 540 F.3d 1082, 1093 (9th Cir.
  22   2008). The monetary damages sought by Plaintiff under the Unruh Act substantially
  23   predominate over federal injunctive relief. Schutza v. Cuddeback, 262 F. Supp. 3d
  24   1025, 1030 (S.D. Cal. 2017) (finding that monetary damages of $36,000 sought by
  25   plaintiff under the Unruh Act substantially predominate over federal injunctive
  26   relief); see also Org. for Advancement of Minorities with Disabilities v. Brick Oven
  27   Rest., 406 F. Supp. 2d 1120, at 1131 (S.D. Cal. 2005) (holding that potential
                                                - 12 –
  28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
       AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
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   1
       statutory damage award of $56,000 under Unruh Act substantially predominated

   2
       over injunctive relief under the ADA); Molski v. Hitching Post I Rest., Inc., No. CV

   3
       04-1077SVWRNBX, 2005 WL 3952248, at 7 (C.D. Cal. May 25, 2005).

   4   (concluding that the potential $52,000 damages award available under Unruh Act

   5   versus the injunctive relief and attorneys’ fees available to plaintiff under the ADA

   6   was disproportionate enough to substantially predominated over the federal claims).

   7   Declining jurisdiction over the Unruh Act would help deter baseless claims and

   8   vexatious litigation a compelling reason to decline supplemental jurisdiction is

   9   provided by the legislative history to the Unruh Act itself.

  10         In 2012, in an attempt to deter baseless claims and vexatious litigation,

  11   California adopted heightened pleading requirements for disability discrimination

  12   lawsuits under the Unruh Act.” Velez v. Il Fornaio (America) Corp., CV 3:18-1840

  13   CAB (MDD), 2018 WL 6446169, at *6 (S.D. Cal. Dec. 10, 2018). These

  14   heightened pleading requirements apply to actions alleging a “construction-related

  15   accessibility claim,” which California law defines as “any civil claim in a civil

  16   action with respect to a place of public accommodation, including, but not limited

  17   to, a claim brought under Section 51, 54, 54.1, or 55, based wholly or in part on an

  18   alleged violation of any construction-related accessibility standard.” Cal. Civ. Code

  19   §55.52(a)(1). California’s heightened pleading standard for construction-related

  20   accessibility claims require a plaintiff to include specific facts concerning the
  21   plaintiff’s claim, including the specific barriers encountered or how the plaintiff
  22   was deterred and each date on which the plaintiff encountered each barrier or was
  23   deterred. See Cal. Civ. Proc. Code §425.50(a). California law requires plaintiffs to
  24   verify their complaints alleging construction-related accessibility claims. See Cal.
  25   Civ. Proc. Code §425.50(b)(1). A complaint alleging construction-related
  26   accessibility claims that is not verified is subject to a motion to strike. Id. When
  27   California continued to experience large numbers of these actions, California
                                                - 13 –
  28   NOTICE OF MOTION; MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1)
       AND 12(b)(6) AND REQUEST FOR SANCTIONS AGAINST PLAINTIFF AND
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   1
       imposed additional limitations on “high-frequency litigants.” These additional

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       restrictions became effective on October 15, 2015. Under California law, a “high-

   3
       frequency litigant” is defined as: “A plaintiff who has filed 10 or more complaints

   4   alleging a construction related accessibility violation within the 12-month period

   5   immediately preceding the filing of the current complaint alleging a construction-

   6   related accessibility violation” Cal. Civ. Proc. Code §425.55(b)(1). The definition

   7   of high-frequency litigant also extends to attorneys. See Cal. Civ. Proc. Code

   8   §425.55(b)(2). In support of its imposition of additional requirements on high-

   9   frequency litigants, the California Legislature found and declared: According to

  10   information from the California Commission on Disability Access, more than one-

  11   half, or 54 percent, of all construction-related accessibility complaints filed between

  12   2012 and 2014 were filed by two law firms. Forty-six percent of all complaints

  13   were filed by a total of 14 parties. Therefore, a very small number of plaintiffs

  14   have filed a disproportionately large number of the construction-related

  15   accessibility claims in the state, from 70 to 300 lawsuits each year. Moreover, these

  16   lawsuits are frequently filed against small businesses on the basis of boilerplate

  17   complaints, apparently seeking quick cash settlements rather than correction of the

  18   accessibility violation. This practice unfairly taints the reputation of other innocent

  19   disabled consumers who are merely trying to go about their daily lives accessing

  20   public accommodations as they are entitled to have full and equal access under the
  21   state’s Unruh Civil Rights Act (Section 51 of the Civil Code) and the federal
  22   Americans with Disability Act of 1990 (Public Law 101-336). Cal. Civ. Proc. Code
  23   §425.55(a)(2).
  24         In response to these “special and unique circumstances,” Cal. Civ. Proc.
  25   Code §425.55(3), California imposed a “high frequency litigant fee” requiring high-
  26   frequency litigants to pay a $1,000 filing fee at the time of the filing of the
  27   initial complaint in addition to the standard filing fees. Cal. Gov’t Code §70616.5.
                                                 - 14 –
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   1
       California law also requires complaints filed by high-frequency litigants to allege

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       certain additional facts, including whether the action is filed by, or on behalf of, a

   3
       high-frequency litigant, the number of construction-related accessibility claims filed

   4   by the high-frequency litigant in the preceding 12 months, the high frequency

   5   litigant plaintiff’s reason for being in the geographic area of the defendant’s

   6   business, and the reason why the high-frequency litigant plaintiff desired to access

   7   the defendant’s business. See Cal. Civ. Proc. Code §425.50(a)(4)(A).

   8         Here, Plaintiff CHRIS LANGER would fall within the definition of a high-

   9   frequency litigant. Therefore, this Court should decline to exercise supplemental

  10   jurisdiction over Langer’s Unruh Act claim because California’s heightened

  11   pleading standards and increased filing fees do not apply in federal court, plaintiffs

  12   can circumvent the restrictions California has imposed on Unruh Act claims

  13   alleging construction-related accessibility claims simply by relying on § 1367(a)’s

  14   grant of supplemental jurisdiction to file their Unruh Act claims in federal court

  15   when they combine an Unruh Act claim with an ADA claim for injunctive relief.

  16   The number of construction-related accessibility claims filed in the Central District

  17   has skyrocketed both numerically and as a percentage of total civil filings since

  18   California began its efforts to curtail the filing of such actions.

  19   iii. Plaintiff’s Attorney Has Acted In Bad Faith By Making Multiple Wrongful

  20   Requests for Entry of Default and Making Agreements With Opposing
  21   Counsel That They Never Intended to Keep While Failing to Advise of Same
  22         Plaintiff counsel’s conduct as described above should be sanctioned
  23   accordingly under Local Rule 83-7 which states as follows:
  24   “L.R. 83-7 Sanctions - Violation of Rule. The violation of or failure to
  25   conform to any of these Local Rules may subject the offending party or counsel to:
  26   (a) monetary sanctions, if the Court finds that the conduct was willful, grossly
  27   negligent, or reckless;
                                                 - 15 –
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   1
       (b) the imposition of costs and attorneys’ fees to opposing counsel, if the Court

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       finds that the conduct rises to the level of bad faith and/or a willful disobedience of

   3
       a court order; and/or

   4   (c) for any of the conduct specified in (a) and (b) above, such other sanctions as the

   5   Court may deem appropriate under the circumstances.”

   6         Such conduct by Plaintiff and his counsel, Potter Handy LLP, should not be

   7   permitted and sanctioned by this Court. This Court should award Defendant costs

   8   and attorneys’ fees finding that the conduct as described herein rises to the level of

   9   bad faith.

  10                                    IV. CONCLUSION

  11         Based on the above reasons, this Court should grant Defendant’s motion.

  12   DATED: October 26, 2020                 By: ______________________________
                                                     Monica R. Molina
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                                  CERTIFICATE OF SERVICE
   1
             I hereby certify that on October 27, 2020, I caused the foregoing document to
   2
       be filed electronically with the Clerk of Court through CM/ECF and that the filing
   3
       was served by CM/ECF on all counsel of record.
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                                                                By: /s/Monica R. Molina
   7                                                                   Monica R. Molina
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